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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
SEBASTIAN CORDOBA, individually               )
and on behalf of all others similarly-        )
situated,                                     )
                                              )
                    Plaintiff,                )
                                              ) CIVIL ACTION FILE NO.:
vs.
                                              ) 1:15-CV-03755-MHC
DIRECTV, LLC, individually and as             )
successor through merger to DIRECTV,          )
Inc.,                                         )
                                              )
                    Defendant.


      DEFENDANT’S RESPONSE TO PLAINTIFF’S STATEMENT OF
      ADDITIONAL FACTS PRECLUDING SUMMARY JUDGMENT

                                 The 2009 Injunction
      1.     On December 12, 2005, the United States of America, on behalf of the

Federal Trade Commission, brought suit against DIRECTV for various alleged

violations of federal telemarketing laws in the matter styled United States v.

DIRECTV, Inc., No. 05-1211 (C.D. Cal. Dec. 12, 2005). (Complaint for Civil

Penalties and Injunctive Relief (Ex. 8) at ¶ 16).

      RESPONSE:

      DIRECTV objects on the grounds that this fact is not material to the motion.




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      2.     On December 14, 2005, Judge David O. Carter of the United States

District Court for the Central District of California entered a Stipulated Judgment

and Order for Permanent Injunction Against DIRECTV, Inc. enjoining DIRECTV

from, among other things, failing to monitor its marketers, failing to monitor its

marketers’ marketing campaigns, continuing to do business with marketers it

knows to be violating the TCPA, and from committing future violations of federal

telemarketing laws (the “2005 Injunction”). (Ex. 9).

      RESPONSE:

      DIRECTV objects on the grounds that this fact is not material to the motion

and further objects on the grounds that the statement mischaracterizes the

injunction to the extent it implies that DIRECTV had committed prior violations of

the telemarketing laws. The settlement cited was entered into “without

adjudication of any issue of fact or law” and DIRECTV did not admit liability.

      3.     On or around April 15, 2009, the United States of America, on behalf

of the FTC, brought suit against DIRECTV again for alleged violations of federal

telemarketing laws in the case styled United States v. DIRECTV, Inc. et al., No.

09-02605 (C.D. Cal. April 16, 2009). (Ex. 8).

      RESPONSE:

      DIRECTV objects on the grounds that this fact is not material to the motion.

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      4.     On May 14, 2009, Judge David O. Carter of the United States District

Court for the Central District of California entered a Stipulated Judgment and

Order for Permanent Injunction Against DIRECTV, Inc. enjoining DIRECTV

from, among other things, failing to monitor its marketers, failing to monitor its

marketers’ marketing campaigns, continuing to do business with marketers it

knows to be violating the TCPA, and from committing future violations of federal

telemarketing laws (the “2009 Injunction”). (Ex. 10).

      RESPONSE:

      DIRECTV objects on the grounds that this fact is not material to the motion

and further objects on the grounds that the statement mischaracterizes the

injunction to the extent it implies that DIRECTV had been found to have

committed prior violations of the telemarketing laws. The settlement cited was

entered into “without adjudication of any issue of fact or law” and DIRECTV did

not admit liability. Moreover, the injunction includes separate restrictions for

“authorized telemarketers” (which Telecel was not) and “authorized marketers”

(which Telecel was). Authorized marketers are not subject to many of the

restrictions described in this paragraph.




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       5.    The 2009 Injunction superseded the 2005 Injunction, “except for

Section VIII.C of the Prior [2005] Injunction, which shall remain in full force and

effect.” (2009 Injunction (Ex. 10) Section XII).

       RESPONSE:

       DIRECTV objects on the grounds that this fact is not material to the motion.

       6.    The 2009 Injunction defines an “Authorized Marketer” as “a business

or other entity with whom DIRECTV has entered into an agreement authorizing

the solicitation of DIRECTV goods or services.” (2009 Injunction (Ex. 10) at p. 3).

       RESPONSE:

       DIRECTV objects on the grounds that this fact is not material to the motion.

       7.    The 2009 Injunction defines an “Authorized Telemarketer” as “a

person that has received express, written authorization from DIRECTV to use

telemarketing to market DIRECTV goods or services.” (2009 Injunction (Ex. 10)

at p. 3).

       RESPONSE:

       DIRECTV objects on the grounds that this fact is not material to the motion.

       8.    Because Telecel, pursuant to the CDA, has received express, written

authorization from DIRECTV to use telemarketing to market DIRECTV goods or



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services, Telecel is an “Authorized Telemarketer” under the terms of the 2009

Injunction. (Haley Decl. Ex. C (CDA) (Doc # 108-3) at p. 22 (DTV0000057)).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited. The CDA does not, in itself, provide authorization for a retailer

to conduct even commercial telemarketing but rather sets forth the steps that such a

retailer must take prior to receiving authorization. There is no evidence in the

record that Telecel ever received such authorization from DIRECTV.

      9.     Because Telecel, pursuant to the CRA and IRA, has entered into an

agreement authorizing the solicitation of DIRECTV goods or services, Telecel is

also an “Authorized Marketer” under the terms of the 2009 Injunction. (Haley

Decl. Ex. A (IRA) (Doc # 108-1); Haley Decl. Ex. B (CRA) (Doc # 108-2)).

      RESPONSE:

      DIRECTV objects on the grounds that this fact is not material to the motion,

and in any event mischaracterizes the CRA and IRA to the extent it implies the

CRA and IRA authorize “cold calling.”

      10.    Pursuant to the 2009 Injunction, DIRECTV, “whether acting directly

or indirectly through Authorized Telemarketers,” is permanently restrained from

“[i]nitiating any outbound telemarketing call to a person when: 1. that person has

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previously stated to DIRECTV or an Authorized Telemarketer that he or she does

not wish to receive an outbound telephone call made by or on behalf of DIRECTV

. . . [or] that person’s telephone number is on the National Do Not Call List . . .”

(2009 Injunction (Ex. 10) Section I.A).

      RESPONSE:

      DIRECTV objects on the grounds that this fact is not material to the motion.

Furthermore, the evidence cited does not support the statement, as § I(A)(2) of the

2009 injunction includes several exceptions that Plaintiff omits in his quotation,

including customers who have provided express written consent to receive such

calls, or customers with whom DIRECTV has an established business relationship.

      11.    Pursuant to the 2009 Injunction, DIRECTV is obligated to “conduct a

reasonable due diligence investigation of a person before making a person an

Authorized Telemarketer, to ensure that the person has established and actively

enforces effective policies and procedures for compliance with the Telemarketing

Sales Rule, including procedures to prevent the initiation of outbound

telemarketing calls to numbers on the National Do Not Call Registry . . .” (2009

Injunction (Ex. 10) Section II.A).

      RESPONSE:

      DIRECTV objects on the grounds that this fact is not material to the motion.

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      12.    Pursuant to the 2009 Injunction, DIRECTV is obligated “to monitor

outbound telemarketing campaigns conducted by an Authorized Telemarketer to

determine whether . . . [a]ny telemarketing call is placed only to a telephone that is

. . . not on the National Do Not Call Registry and not on an individual do not call

list maintained by DIRECTV or any of its Authorized Telemarketers . . .” (2009

Injunction (Ex. 10) Section II.D.1.a).

      RESPONSE:

      DIRECTV objects on the grounds that this fact is not material to the motion.

Furthermore, the evidence cited does not support the statement, as § II(D)(1) also

allows DIRECTV’s authorized telemarketers to place calls to “a telephone number

that is . . . on the National Do Not Call Registry, provided that the customer either

has given his or her express agreement in writing to receive telemarketing calls at

that number, or has an established business relationship with DIRECTV.”

      13.    Pursuant to the 2009 Injunction, DIRECTV is obligated “to monitor

Authorized Marketers to determine whether they are initiating contact with

consumers through outbound telephone calls to telemarket DIRECTV goods or

services[.]” (2009 Injunction (Ex. 10) Section III.A).

      RESPONSE:

      DIRECTV objects on the grounds that this fact is not material to the motion.

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      14.    DIRECTV never addressed the 2009 Injunction with Telecel. (Diaz

Dep. (Ex. 2) at 202:3-6).

      RESPONSE:

      DIRECTV objects on the grounds that this fact is not material to the motion.

        The Contractual Relationship between DIRECTV and Telecel
      15.    Telecel Marketing Solutions, Inc. (“Telecel”) applied to become an

authorized DIRECTV, LLC (“DIRECTV”) dealer in 2003. (Ex. 1).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      16.    In its application, Telecel stated that “our sales force is a combination

of direct sales and telemarketing.” (Ex. 1 at DTV0000173).

      RESPONSE:

      DIRECTV objects on the grounds that this fact is not material to the motion.

      17.    Telecel has been marketing on behalf of DIRECTV since 2003. (Diaz

Dep. (Ex. 2) at 33:11-24).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

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       18.   Telecel has been expressly authorized to conduct outbound

telemarketing, or cold-calling, on behalf of DIRECTV since July 1, 2010, pursuant

to its Commercial Dealer Agreement (“CDA”). (Haley Decl. Ex. C (CDA) (Doc #

108-3), p. 22 (DTV0000057)).

       RESPONSE:

       DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited. The CDA does not, in itself, provide authorization for a retailer

to conduct even commercial telemarketing but rather sets forth the steps that such a

retailer must take prior to receiving authorization. There is no evidence in the

record that Telecel ever received such authorization from DIRECTV.

       19.   DIRECTV and Telecel entered into two other agreements authorizing

Telecel to market on behalf of DIRECTV: a March 1, 2006, Independent Retailer

Agreement (“IRA”) and an April 7, 2008, Customer Referral Agreement (“CRA”).

(Haley Decl. Ex. A (IRA) (Doc # 108-1); Haley Decl. Ex. B (CRA) (Doc # 108-

2)).

       RESPONSE:

       DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.



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      20.   Pursuant to the CDA, IRA, and CRA, Telecel is authorized to “to

market, promote and advertise the sale of DIRECTV Programming Packages.”

(Haley Decl. Ex. A (IRA) (Doc # 108-1), § 2.5; Haley Decl. Ex. B (CRA) (Doc #

108-2), § 2.5; Haley Decl. Ex. C (CDA) (Doc # 108-3), § 2.5).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      21.   To consummate sales, Telecel is given access to DIRECTV’s system

to input prospective customer information, and DIRECTV then approves or

disapproves of the sale. (Montmorency Dep. (Ex. 3) at 95:9-96:6; 175:24-176:9;

Diaz Dep. (Ex. 2) at 23:5-24:16).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited. DIRECTV does not give Telecel access to its entire “system.”

Rather, Telecel has access to specific order entry software (“DWS”) necessary to

submit orders to DIRECTV. Montmorency Dep. (Ex. 3) at 95:9-96:6; 175:24-

176:9. Telecel does not have access to DIRECTV’s customer records or customer

database. Diaz Dep. 24:17-23, 47:15-48:10.



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      22.   Telecel is obligated to sell only DIRECTV’s audio/video multichannel

entertainment programming packages or equipment, and cannot sell or market any

similar or competing products on behalf of a DIRECTV competitor. (Amendment

to IRA (Ex. 5) at §1.3; Amendment to CRA (Ex. 6) at § 1.3; Haley Decl. Ex. C

(CDA) (Doc # 108-3) at § 1.4). Telecel is authorized to use DIRECTV’s logo and

trademark. (Haley Decl. Ex. A (IRA) (Doc # 108-1), § 9; Haley Decl. Ex. B

(CRA) (Doc # 108-2), § 8; Haley Decl. Ex. C (CDA) (Doc # 108-3), §9).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited, as Telecel is allowed to use DIRECTV’s logo and trademark

only in compliance with the terms of a usage manual and other applicable

restrictions. DIRECTV otherwise admits that the Court can properly consider this

evidence for the purposes of the motion.

      23.   Pursuant to DIRECTV’s contracts with Telecel, DIRECTV is entitled

to control the marketing materials and publications used by Telecel, and Telecel is

prohibited from marketing DIRECTV services except as designated and approved

by DIRECTV:

            (a)    Telecel “shall market, promote, and advertise” DIRECTV’s

      services “as directed by DIRECTV” and “using such marketing tactics,

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      channels, methods and at such frequency as DIRECTV may reasonably

      designate.” (Haley Decl. Ex. A (IRA) (Doc # 108-1), § 2.5; Haley Decl. Ex.

      B (CRA) (Doc # 108-2), § 2.5; Haley Decl. Ex. C (CDA) (Doc # 108-3), §

      2.5).

              (b)   “All advertising, marketing and promotional materials related

      to DIRECTV . . . shall be subject to DIRECTV’s prior approval. DIRECTV

      may withhold approval in its sole and absolute discretion of the use by

      [Telecel] of any marketing tactic, channel or method that DIRECTV

      reasonably believes does not fit within its marketing strategy.” (Haley Decl.

      Ex. A (IRA) (Doc # 108-1), § 2.5; Haley Decl. Ex. B (CRA) (Doc # 108-2),

      § 2.5; Haley Decl. Ex. C (CDA) (Doc # 108-3), § 2.5).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion. DIRECTV objects to the classification of the evidence as

showing that DIRECTV “control[led]” Telecel’s marketing materials.

      24.     Pursuant to DIRECTV’s contracts with Telecel, DIRECTV is entitled

to control the programming packages marketed by Telecel. Telecel may market

only those DIRECTV programming packages pre-authorized by DIRECTV, which

DIRECTV can change at any time “in its sole and absolute discretion.” (Haley

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Decl. Ex. A (IRA) (Doc # 108-1) at §§ 1.1(c), 3.1, 3.2, 5.3, Ex. A, Schedule 6.3;

Haley Decl. Ex. B (CRA) (Doc # 108-2) at §§ 1.1(c), 4.1, 4.2, 6.1, Ex. A; Haley

Decl. Ex. C (CDA) (Doc # 108-3) at §§ 2.1, 2.5, 2.10, 3.1, 3.2 4.3, Schedule B).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      25.    DIRECTV requires that Telecel “maintain books and records relating

to its activities on behalf of DIRECTV for a minimum of three (3) years” and that

DIRECTV may inspect such books and records “for compliance hereunder.”

(Haley Decl. Ex. A (IRA) (Doc # 108-1), § 2.9; Haley Decl. Ex. B (CRA) (Doc #

108-2), § 2.9; Haley Decl. Ex C. (CDA) (Doc # 108-3), § 2.9).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      26.    DIRECTV requires that “at least one of [Telecel’s] locations must be

a storefront location (i.e., a retail store), unless otherwise agreed by DIRECTV in

writing.” (Haley Decl. Ex. A (IRA) (Doc # 108-1), § 2.1; Haley Decl. Ex. B (CRA)

(Doc # 108-2), § 2.1).

      RESPONSE:

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      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      27.   DIRECTV requires that Telecel “shall prominently display, in a high

traffic area at each of its locations, in a manner reasonably directed by DIRECTV,

(a) point of sale materials provided or approved by DIRECTV . . .” (Haley Decl.

Ex. A (IRA) (Doc # 108-1), § 2.2; Haley Decl. Ex. B (CRA) (Doc # 108-2), § 2.2).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      28.   DIRECTV controls who Telecel may use to market and sell

DIRECTV’s services: only Telecel employees unless otherwise expressly

authorized by DIRECTV. (Haley Decl. Ex. A (IRA) (Doc # 108-1), § 2.4; Haley

Decl. Ex B (CRA) (Doc # 108-2), § 2.4; Haley Decl. Ex. C (CDA), § 2.4) (Doc #

108-3).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion. DIRECTV objects to the classification of the evidence as

showing that DIRECTV “control[led]” who marketed and sold DIRECTV

services.

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      29.    The CDA reserved DIRECTV’s right to review Telecel’s

telemarketing scripts and “how the call list was compiled” to ensure that

“residential, cellular, emergency and guest/resident phone lines were omitted from

inclusion[.]” (Haley Decl. Ex. C. (CDA) (Doc # 108-3) at DTV0000058).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited, as there is no evidence that Telecel ever had any telemarketing

scripts for DIRECTV to review or used the policies described in the CDA.

      30.    The CDA reserved DIRECTV’s right to control, require, and review

Telecel’s do-not-call procedures and training materials for same. Pursuant to the

CDA, Telecel was obligated to submit to DIRECTV the following:

             (a)    “a separate sworn statement of compliance with all such [Do

      Not Call] registration and/or purchase and DNC scrubbing requirements”;

             (b)    “copies of all materials used to train the live operators who will

      be making the calls (such materials should address . . . honoring Do Not Call

      requests . . .)”; and

             (c)    “a sworn statement regarding internal DNC compliance.”

(Haley Decl. Ex. C (CDA) (Doc # 108-3) at DTV000058).

      RESPONSE:

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      DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited, as there is no evidence that Telecel ever had any telemarketing

scripts for DIRECTV to review or used the policies described in the CDA.

        The Operational Relationship between DIRECTV and Telecel
      31.    Sasha Montmorency was DIRECTV’s area sales manager in charge of

the Telecel relationship during the period September 2010 to December 2011 and

May 2014 to December 2015. (DIRECTV’s Amended Objections and Responses

to Plaintiff’s First Set of Interrogatories (“DIRECTV Interrogatory”) (Ex. 7) at No.

10; Montmorency Dep. (Ex. 3) at 28:17-29:14). Ms. Montmorency was the

“principal person at DIRECTV who was interacting with Telecel.” (Montmorency

Dep. (Ex. 3) at 50:2-13).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      32.    The DIRECTV area sales manager in charge of Telecel’s relationship,

including Ms. Montmorency, is “the person most familiar with” Telcel’s marketing

practices. (DIRECTV Interrogatory (Ex. 7) No. 15).

      RESPONSE:




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      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      33.   According to Ms. Montmorency, she and Telecel would meet by

phone “maybe once a week. Once every two weeks.” (Montmorency Dep. (Ex. 3)

at 37:4-13). Ms. Montmorency and Telecel would meet in person “Once a month.

Sometimes more if needed, but more or less, once a month is a fair statement.”

(Montmorency Dep. (Ex. 3) at 37:14-19).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      34.   Ms. Montmorency reported to Micky Girgis, DIRECTV’s Director of

Sales for the region in which Telecel operates. (Montmorency Dep. (Ex. 3) at

41:16-42:5, 45:4-47:25, 125:4-7).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited. Ms Montmorency testified that she reported to multiple people

during her time as an ASM, including David, Rich Nock, and Mr. Girgis.

Montmorency Dep. (Ex. 3) at 41:2-42:5.



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      35.    DIRECTV and Telecel met regularly. (See composite Exhibit 45

(evidencing regular meetings between DIRECTV and Telecel)).

      RESPONSE:

      DIRECTV denies that the evidence supports Plaintiff’s characterization of

meetings as “regular.” The exhibit reflects calendar scheduling for four in-person

meetings between July 2012 and December 2015, as well as nine conference calls,

an invitation to a webinar, and an invitation to a reception.

      36.    Telecel operates two call centers, one in Maryland and one in El

Salvador. (Diaz Dep. (Ex. 2) at 99:24-100:20).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      37.    DIRECTV pre-approved Telecel’s El Salvador center. (Diaz Dep.

(Ex. 2) at 156:12-157:4). DIRECTV had to provide prior approval before Telecel

opened its El Salvador call center because DIRECTV has “strict” requirements

regarding its “overseas” call centers and Telecel has to “cooperate 100%.” (Id.).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

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      38.    Telecel has staffed between twenty and thirty employees at its El

Salvador call center. (Montmorency Dep. (Ex. 3) at 151:5-8).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      39.    With DIRECTV’s approval, Telecel’s El Salvador call center can now

seat more than fifty callers. (Ex. 4 at DTV0006039).

      RESPONSE:

      DIRECTV objects on the grounds that this statement mischaracterizes the

evidence. The exhibit does not indicate that DIRECTV approved particular seating

levels.

      40.    Ms. Montmorency has “no idea” if anyone at DIRECTV conducted an

inquiry into Telecel’s business practices prior to its hiring, and “d[id]n’t know if

anybody [at DIRECTV] had to approve” Telecel’s call center. (Montmorency

Dep. (Ex. 3) at 69:20-70:2, 148:3-12).

      RESPONSE:

      DIRECTV objects on the grounds that Ms. Montmorency’s personal

knowledge of prior inquiries or approvals regarding Telecel, which was a



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preexisting dealer before she first had contact with Telecel (Montmorency Dep.

(Ex. 3) at 35-36) is not material to the motion.

      41.    Pursuant to DIRECTV’s contracts with Telecel, DIRECTV is

permitted and obligated to provide training and training materials regarding

DIRECTV’s programming packages, but only “as DIRECTV reasonably deems

necessary.” Haley Ex. A (IRA) (Doc # 108-1), § 2.3; Haley Ex. B (CRA) (Doc #

108-2), § 2.3; Haley Ex. C. (CDA) (Doc # 108-3), § 2.3.

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      42.    Ms. Montmorency and other DIRECTV representatives have

conducted online and in-person trainings with Telecel, including at Telecel’s El

Salvador and Maryland call centers. (Montmorency Dep. (Ex. 3) 148:13-16,

151:16-20, 153:2-23, 21:17-22:18, 57:2-58:11; Ex. 54; Ex. 30 at DTV0006235;

Ex. 31 at 0000853; Ex. 22 at DTV0006277; Ex. 32 at DTV0000926; Ex. 33 at

DTV0001005-06; Ex. 34 at DTV0001010; Ex. 35 at DTV0001203; Ex. 36 at

DTV0001372; Ex. 37 at DTV0001396-1400; Ex. 38 at DTV0003433; Ex. 39 at

DTV0006335).

      RESPONSE:

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      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      43.    According to Ms. Montmorency, the trainings are “mainly” “offer

driven,” but include other practices, such as billing, and never touched on the

TCPA in any way. (Montmorency Dep. (Ex. 3) at 74:2-11, 83:20-84:22, 72:5-16,

152:17-20). During the trainings, DIRECTV representatives would “go around

and listen to some calls” and “sometimes give feedback.” (Montmorency Dep. (Ex.

3) at 153:2-23).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      44.    Trainings also included “training on how to use DIRECTV systems

and place orders.” (Diaz Dep. (Ex. 2) at 204:6-10).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      45.    Documents show that trainings would also include training on “sales

techniques” and “fraud management” or “prevention.” (Ex. 4 at DTV0006041; Ex.

30 at DTV0006235).

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      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      46.    Terming the incentive program a “Call Center Launch Incentive,”

DIRECTV launched an incentive program for Telecel in the first quarter of 2016

wherein DIRECTV would “train all new and existing reps on offer, sales

techniques, fraud management & quality.” (Ex. 4 at DTV0006041).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      47.    After conducting the training, Ms. Montmorency e-mailed that it was

an “extremely successful Telecel El Salvador trip.” (Ex. 22 at DTV0006277). Ms.

Montmorency noted that the “call center is 3 times as large as his last one,” and

that with the incentive program, Telecel “committed to not only giving us 800

activations between the 2 months but in surpassing that so we return and announce

another incentive before the end of the year.” (Ex. 22 at DTV0006277).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

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      48.    When asked whether any of her visits to Telecel’s call centers

included checking on their physical operations to determine if Telecel was

“conducting themselves according to required policies or procedures,” Ms.

Montmorency answered that she did not because “that’s not my job,” that it “is

assumed that they’re conducting everything by our guidelines,” and that there was

nobody “else who did have that job” that she knows of. (Montmorency Dep. (Ex.

3) at 132:5-133:9).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      49.    DIRECTV provides Telecel with market information to help

DIRECTV and Telecel decide where Telecel’s marketing efforts are best placed.

(Ex. 31 at DTV00000853-858; Diaz Dep. (Ex. 2) at 175:10-16).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited. Mr. Diaz testified that the purpose of the market information

was to allow the retailer to decide if it “want[ed] to do some marketing in those

areas.” Nothing in the cited evidence indicates that DIRECTV could or did decide

“where Telecel’s marketing efforts are best placed.”

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        50.      Telecel regularly won sweepstakes, or incentive prize packages, for its

performance on behalf of DIRECTV, including trips to the World Cup, Copa

America, and Santiago de Chile. (Diaz Dep. (Ex. 2) at 178:10-16; Ex. 46).1

        RESPONSE:

        DIRECTV objects on the grounds that it is not material to the motion.

DIRECTV further objects to the extent the reference to “on behalf of DIRECTV”

is intended to assert a legal conclusion.

        51.      Telecel advertises a 1-800 number used only for DIRECTV

advertisements on which it can receive incoming calls. (Diaz Dep. (Ex. 2) at

19:22-20:6, 21:16-21).

        RESPONSE:

        DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited. In fact, Mr. Diaz testified that “we probably use the same

[number] at that point” for other products, including when he used to sell DISH

services.

        52.      DIRECTV would regularly update the programming packages Telecel

was authorized to sell. (Ex. 40).2

        RESPONSE:
1
  Exhibit 46 is a composite exhibit containing e-mail correspondence regarding competitions won by Telecel and
paid for by DIRECTV.
2
  Exhibit 40 is a composite exhibit showing updates to DIRECTV’s programming packages.
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        DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

        53.     DIRECTV provided advertising support and controlled the content of

Telecel’s marketing. (Diaz Dep. (Ex. 2) 177:7-22; Ex. 41;3 Ex. 4 at DTV0006036-

6045). For instance, DIRECTV reviewed, approved, and financed Telecel

advertising to the tune of $24,762.00 in 2012 alone. (Ex. 41 at DTV0001520-46

(listing invoices); Ex. 41 at DTV0001554-55). According to the February 2016

incentive program, “DIRECTV currently supports Telecel with $10k a quarter in

advertising/Co-Op.” (Ex. 4 at DTV0006040).

        RESPONSE:

        DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited, as none of the cited materials indicate that DIRECTV

“controlled the content of Telecel’s marketing” or that DIRECTV “reviewed and

approved” Telecel’s advertising. To the extent the statement provides evidence

that DIRECTV from time to time made certain funds available to support Telecel’s

advertising, DIRECTV admits that the Court can properly consider this evidence

for the purposes of the motion.



3
 Ex. 41 is a composite exhibit containing e-mail correspondence wherein DIRECTV reviews and approves
Telecel’s advertising.
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      54.    Ms. Montmorency “f[ou]ght for [Telecel] internally to be able to do

things that we normally cannot do.” (Ex. 42 at DTV0001152).

      RESPONSE:

      DIRECTV objects to this statement as mischaracterizing the evidence cited

to the extent it implies the statement in question relates to anything other the

financial support program reflected in the cited email.

      55.    DIRECTV and Ms. Montmorency were aware that Telecel was

experiencing “tremendous growth” which coincided with its knowledge of

Telecel’s cold-calling practices and Plaintiff’s receipt of unwanted calls. (Ex. 21 at

DTV0006015). Telecel showed growth of more than 550% between the first

quarter of 2014 and the third quarter of 2015. In the first quarter of 2014, Telecel

made just 158 sales (or activations). (Ex. 21 at DTV0006015). By the fourth

quarter of 2014, those sales had more than tripled to 507. (Ex. 21 at

DTV0006015). By the third quarter of 2015, those sales increased by more than

550% to 873. (Ex. 21 at DTV0006015; Ex. 4 at DTV0006038).

      RESPONSE:

      DIRECTV objects to this statement as mischaracterizing the evidence cited,

as nothing in the evidence cited indicates that DIRECTV had “knowledge of

Telcel’s cold-calling practices and Plaintiff’s receipt of unwanted calls.” To the

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contrary, the cited email specifically indicates that Telecel’s main marketing tactic

is “radio,” not cold-calling. Furthermore, the statement is not material to the

motion.

      56.    In the same e-mail in which Ms. Montmorency outlined Telecel’s

“tremendous growth,” she noted that Telecel “is opening a large call center in El

Salvador. Can have 60+ sales agents. He wants to know if we can help in any

way.” (Ex. 21 at DTV0006016).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      57.    As of February 2016, Telecel was DIRECTV’s “2nd largest dealer in

the NE.” (Ex. 4 at DTV0006038). As of that time, Telecel was “trending for 300

[activations] a month” with the “potential to be at 400+ a month” because a “new

call center launching in El Salvador that can fit upwards of 50 seats.” (Ex. 4 at

DTV0006039).

      RESPONSE:

      DIRECTV objects on the grounds that this fact is not material to the motion.

      58.    DIRECTV conducts in-depth monitoring [sic] Telecel’s business

practices and its sales, such as manipulations of information Telecel inputs into

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DIRECTV’s system at the point of sale. (See, e.g., Ex. 27 at DTV0000375-85; Ex.

28 at DTV0002065-67; Ex. 44 at DTV0002100-02; Ex. 50 at DTV0001040; Ex.

53). DIRECTV not only conducted investigations into such practices, but also

generated notices to Telecel when its sales would not be approved based upon the

information it provided. (See Ex. 53).

      RESPONSE:

      DIRECTV objects to this statement as mischaracterizing the evidence cited,

as nothing in the cited materials shows that DIRECTV conducted “in-depth”

reviews of Telecel on any given issue, much less that the review covered the

entirety of Telecel’s business practices and sales. Instead, the evidence shows that

in response to certain circumstances, certain Telecel account activations would be

escalated and investigated as appropriate.

             DIRECTV’s Knowledge of Telecel’s Calling Practices
      59.    On June 5, 2014, DIRECTV employee Manuel Escobar in the

department sent an e-mail to Ms. Montmorency, Mr. Girgis, Ms. Haley, and Ms.

Riley, stating that “Telecel Marketing contacted [an existing DIRECTV customer]

about opening a new account” and “[t]hese were cold calls since the customer

hadn’t inquired about new service.” (Ex. 12 at DTV0005510).

      RESPONSE:

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      DIRECTV objects to the admissibility of this evidence as the quoted

portions of the email relay statements of a third-party DIRECTV customer made

during a conversation between the customer and Mr. Escobar and thus constitute

inadmissible hearsay.

      60.    On the same date, June 5, 2014, Ms. Montmorency e-mailed Ms.

Haley by separate cover, stating: “Quick question for you... Fredy from Telecel

now wants to engage more in commercial and wants to have one of his call center

reps do some outbound calling. Is there a specific agreement he has to sign for

this? Kimmy mentioned that there was an agreement but that it varied by dealer?

Can you walk me through this please?” (Ex. 13 at DTV0002156).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      61.    On the same date, June 5, 2014, Ms. Montmorency responded to Mr.

Escobar’s e-mail, stating that she “will look into this immediately and get back to

you with a dealer explanation and solution” and that she would “schedule a call on

Monday with us and the dealer to discuss[.]” (Ex. 14 at DTV0005981; Ex. 15 at

DTV00002091).

      RESPONSE:

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      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      62.    Telecel managed very few commercial activations, including just two

during the entire first quarter of 2014 and just 2 commercial activations in April

2016. (Ex. 23 at DTV0013472; Ex. 49 at DTV0000830).

      RESPONSE:

      DIRECTV objects on the grounds that this fact is not material to the motion.

      63.    Five days later, on June 10, 2014, Ms. Montmorency e-mailed Mr.

Girgis stating that “I strongly suggest that we give him [Telecel’s owner] a slap on

the wrist this time,” that Telecel “has been a very valuable partner with us since

2003,” that Telecel “is one of our key dealers for EE in the North East,” and that

“if we charge him back for these 21 activations, we will lose his business.” (Ex. 16

at DTV0015420-21).

      RESPONSE:

      DIRECTV objects to this statement as mischaracterizing the evidence to the

extent it implies that Ms. Montmorency’s email was related to the hearsay reports

of “cold calls” discussed in Paragraph 59. To the contrary, the cited email

indicates that the issues related to the submission of customer information when

opening accounts where it was difficult for Telecel to verify information given its

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primary marketing amongst English as a second language and immigrant

communities. Moreover, Mr. Diaz had fired the responsible employee and

DIRECTV determined that “none of what might appear to be fraud is intentional

from the dealer side.” (Exhibit 16 at DTV0015420).

      64.    Mr. Girgis forwarded Ms. Montmorency’s e-mail to others at

DIRECTV, stating that if they charge Telecel back “we feel our business will drop

drastically and the emphasis he was putting on commercial and residential will

disappear.” (Ex. 16 at DTV0015420).

      RESPONSE:

      DIRECTV incorporates its objections regarding the misleading context of

the quotation used by Plaintiff in the statement from Paragraph 64.

      65.    On June 18, 2014, Mr. Escobar followed up with Mr. Girgis stating,

among other things, that “[p]er our conversation this morning, our primary

concerns are that the dealer is intentionally cold calling and/or targeting existing

DIRECTV subs . . .” (Ex. 17 at DTV0006028).

      RESPONSE:

      DIRECTV objects to this statement as mischaracterizing the evidence as the

email also lists “[s]coring applicants using varying pieces of information to get

them approved without a fee” and “ignoring notice of cancellation emails and

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recreating orders for applicants who have been flagged” as “primary concerns.”

(Ex. 17 at DTV0006028).

      66.    On June 30, 2014, Mr. Girgis e-mailed Telecel stating, among other

things, that Telecel needs to “discontinue all cold calling sales tactics “ but letting

Telecel know that “we appreciate your relationship and look forward to working

together in the future.” (Ex. 18 at 0001013).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      67.    The email communications between Mr. Escobar, Ms. Montmorency,

and Mr. Girgis show that, as of June 2014, DIRECTV knew that Telecel engaged

in cold-calling. (Exs. 12-18).

      RESPONSE:

      DIRECTV objects to this statement as mischaracterizing the evidence cited,

as the evidence shows only that DIRECTV had received a single hearsay report of

Telecel calling a pre-existing DIRECTV, not that DIRECTV knew that Telecel had

engaged in a pattern of cold-calling.




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      68.    Prior to this litigation, Telecel never maintained an internal do-not-

call list nor any procedures for scrubbing against the national do-not-call registry.

(Diaz Dep. (Ex. 2) at 113:17-6, 132:7-9).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      69.    Prior to this litigation, DIRECTV never asked Telecel if it maintained

an internal do-not-call list or whether it scrubbed against the national do-not-call

registry. (Diaz Dep. (Ex. 2) at 111:15-112:25). Nor had DIRECTV ever inspected

or audited Telecel’s records to see if Telecel was maintaining an internal do-not-

call list. (Diaz Dep. (Ex. 2) at 112:22-25, 202:7-22).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited. Mr. Diaz testified that DIRECTV would send regular messages

to Telecel reminding it of the do-not-call procedures, but that it never asked any

more specific questions beyond these “general reminders”. (Diaz Dep. (Ex. 2) at

111:15-112:25).

      70.    When Telecel was asked whether, “[i]f DIRECTV had required you to

maintain an internal do-not-call list, would you have done so?”, Telecel initially

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answered “Well, I – yes, I mean –.” (Diaz Dep. (Ex. 2) at 115:7-10). After

objections by DIRECTV’s counsel, Telecel changed its answer to “I will maintain

my same procedures as I’m doing today.” (Diaz Dep. (Ex. 2) at 115:7-116:9).

      RESPONSE:

      DIRECTV objects on the ground that this statement is not supported by the

evidence cited. Plaintiff quotes five words from Telecel’s answer out of context,

when the complete exchange makes clear Telecel’s answer was no, and Telecel did

not change that answer.

      71.    In practice, Telecel did begin to maintain an internal do-not-call list,

as well as national do-not-call registry procedures, when DIRECTV “required” it

to do so after this litigation began. “As a result of information learned in this

lawsuit, DIRECTV required that Telecel confirm that it has adopted and

implemented do-not-call policies and procedures . . .” (DIRECTV SOUF ¶ 40;

Telecel’s Do Not Call Policies and Procedures (Ex. 11)).

      RESPONSE:

      DIRECTV objects that the evidence does not support Plaintiff’s assertion.

DIRECTV’s contracts always required Telecel to adhere to do-not-call

requirements. Haley Decl. Ex. D (Marketing Guidelines) at I(E)-(F) (Doc # 108-4).



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      72.    Ms. Montmorency testified that she could not “recall” whether she has

ever personally asked if Telecel maintains an internal do-not-call list, nor whether

she had ever seen, or if Telecel kept, such a list. (Montmorency Dep. (Ex. 3) at

70:6-17, 71:25-72:4).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      73.    There is no evidence DIRECTV actually received, or required that

Telecel submit, the documents required by the CDA regarding do-not-call

restrictions. Instead, DIRECTV claims only that “before doing business with

Telecel [DIRECTV] required it to accept its marketing guidelines . . .” and that

“Telecel was expected to run its business in conformance with the contractual

promises it had made to DIRECTV, as embodied in the marketing guidelines.”

(DIRECTV Interrogatory (Ex. 7) Nos. 9, 16, 18). It is just “assumed that they’re

conducting everything by our guidelines.” (Montmorency Dep. (Ex. 3) at 132:5-

133:9).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited. The CDA does not, in itself, provide authorization for a retailer

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to conduct even commercial telemarketing but rather sets forth the steps that such a

retailer must take prior to receiving authorization. There is no evidence in the

record that Telecel ever received such authorization from DIRECTV. Thus, there

are no documents that Telecel was “required” to submit under the CDA.

DIRECTV admits that the Court can properly consider the reminder of this

evidence for the purposes of the motion.

      74.    There is no evidence DIRECTV actually received, or required that

Telecel submit, proof that Telecel would only cold-call commercial prospects by

excluding residential consumers from its call list. Haley Decl. Ex. C (CDA) (Doc

# 108-3) at DTV000058. In fact, DIRECTV knew that Telecel initiated cold-calls

to residential consumers and sold residential DIRECTV programming packages to

commercial prospects. (Ex. 17 at DTV0006028; Ex. 24).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited. The CDA does not, in itself, provide authorization for a retailer

to conduct even commercial telemarketing but rather sets forth the steps that such a

retailer must take prior to receiving authorization. There is no evidence in the

record that Telecel ever received such authorization from DIRECTV. Thus, there

are no documents that Telecel was “required” to submit under the CDA.

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Moreover, the evidence cited does not show that Telecel regularly initiated cold

calls to residential consumers. Rather, it shows that DIRECTV received a single

report of calls made by Telecel to a current DIRECTV subscriber. Additionally, as

described in DIRECTV’s response to the fact in Paragraph 59 above, the evidence

cited is inadmissible hearsay to the extent it recounts statements from the third-

party DIRECTV customer about the nature of the calls he received.

      75.    When asked to identify all facts supporting its defense that

“DIRECTV established and implemented with due care, reasonable practices and

procedures to effectively prevent” violations of the TCPA’s do-not-call

restrictions, DIRECTV denied that it had any “duty to ensure that its independent

contractor, Telecel, had adequate do-not-call procedures in place” “under the

TCPA or otherwise.” (DIRECTV Interrogatory (Ex. 7) No. 9). DIRECTV

indicated only that it required Telecel “to accept its marketing guidelines as a

condition of its contractual relationship.” (DIRECTV Interrogatory (Ex. 7) No. 9).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      76.    To the extent DIRECTV defends or justifies its failure to conduct a

due diligence investigation into Telecel prior to entering the CDA, it does so on the

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basis of the claim that Telecel is not an authorized telemarketer, nor has it ever

been authorized by DIRECTV to telemarket. (DIRECTV’s SOUF ¶¶ 3, 16).4

        RESPONSE:

        DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited. DIRECTV not only contends that Telecel was not an

authorized telemarketer and had not been authorized by DIRECTV telemarket

prior to entering the CDA, it contends that Telecel was never authorized to conduct

telemarketing.

        77.     DIRECTV never penalized Telecel for its calling practices. (Diaz

Dep. (Ex. 2) at 202:25-203:8).

        RESPONSE:

        DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited. Mr. Diaz testified only that, as of the time of his deposition,

DIRECTV had never placed Telecel on a vendor block or withheld payment as a

result of his calling practices. Mr. Diaz did not testify regarding any other forms of

penalties.

        78.     Typically, when a dealer is found to be cold-calling, DIRECTV is

“going to try to see if there’s any other – they’re going to ask Fredy for call records

4
 “DIRECTV’s SOUF” refers to Defendant DIRECTV, LLC’s Statement of Undisputed Facts in Support of its
Motion for Summary Judgment.
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to see if he really did call, you know, cold call or not or if he had an existing

relationship with this customer . . . they would research and they would say that he

is cold calling, it is up to our Legal team to terminate . . .” (Montmorency Dep.

(Ex. 3) at 167:2-25).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      79.    There is no evidence DIRECTV undertook such an investigation in

June 2014 after it discovered Telecel to be cold-calling.

      RESPONSE:

      DIRECTV objects to the statement on the grounds that it mischaracterizes

the evidence cited. Indeed, the emails cited by Plaintiff (at Exhibits 12-18) show

an investigation into the single hearsay report of cold calling that DIRECTV

received.

      80.    In regard to what actions Ms. Montmorency took in response to the e-

mail chain concerning Telecel “intentionally cold-calling,” Ms. Montmorency

testified that “I never reached out to anybody. I never called – whatever his name

was, Robert Arevalo, what his name was. I never did any of that.” (Montmorency

Dep. (Ex. 3) at 166:15-22). Ms. Montmorency further testified that her “job is not

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to police Telecel” and she “did not do anything to see if they were doing an

outbound call.” (Montmorency Dep. (Ex. 3) at 168:2-17).

       RESPONSE:

       DIRECTV objects to this statement on the grounds that it mischaracterizes

the evidence cited. Although Ms. Montmorency did testify as to the statements

contained in the paragraph, she further testified that the reason for this is that other

individuals at DIRECTV (most notably its Legal department) would have

responsibility to conduct any investigation. Montmorency Dep. (Ex. 3) at 166:2-

14.

                DIRECTV’s Policing of Other Telecel Violations
       81.   DIRECTV’s fraud management unit, synonymously referred to as its

account verifications or department of investigations unit, “periodically” reviews

Telecel’s business practices. (Montmorency Dep. (Ex. 3) at 98:23-99:5, 111:17-

112:8).

       RESPONSE:

       DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

       82.   DIRECTV was also aware that Telecel was cold-calling because it

knew that Telecel consistently “flipped” customers, a practice that it monitored

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closely. Flipping includes activations where a person is already a DIRECTV

customer signed up by one authorized dealer and are then resold DIRECTV by

another authorized dealer. (Montmorency Dep. (Ex. 3) at 170:9-21). I.e., flipping

is when one dealer activates a new subscription for a customer who is an existing

DIRECTV customer sold by another dealer.

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it cites no evidence

in support of its statements that Telecel “consistently flipped customers,” or that

flipping customers is the result of cold-calling as opposed to other marketing

practices (such as an existing customer responding to a Telecel ad). For the same

reasons, DIRECTV objects to this statement on the grounds that it is not material

to the motion, and because calls made to DIRECTV customers do not violate the

do-not-call provisions of the TCPA since such individuals have an established

business relationship with DIRECTV.

      83.    For instance, on June 3, 2014, an internal DIRECTV e-mail to Mr.

Escobar states that an “account holder is calling in stating that a dealer name [sic]

Telecel has been calling them advising them they can give them a better deal and

setting him up with new receivers . . .” (Ex. 26 at DTV0000201).

      RESPONSE:

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      DIRECTV objects to this statement on the grounds that the evidence cited is

inadmissible hearsay, since it recounts the statements of a third-party DIRECTV

account holder. DIRECTV further objects to this statement on the grounds that it

is not material to the motion, as calls made to DIRECTV customers do not violate

the do-not-call provisions of the TCPA since such individuals have an established

business relationship with DIRECTV.

      84.     On June 10, 2013, Mr. Escobar e-mailed that Telecel had flipped three

particular accounts. (Ex. 27 at DTV0000385).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it is not material to

the motion.

      85.     On June 5, 2014, Mr. Escobar e-mailed that, from April 1, 2014, to

May 31, 2014, alone, Telecel flipped 12 accounts from other dealers. (Ex. 27 at

DTV0000379). In the same message, Mr. Escobar stated that a current customer

“stated he received a call from a woman offering a lower rate and new equipment

if his wife signed up for new service.” (Ex. 27 at DTV0000379).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it is not material to

the motion. Furthermore, the portion of the statement that cites to Mr. Escobar

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relaying a statement from a customer is inadmissible third-party hearsay and

DIRECTV objects on those grounds.

      86.     On March 25, 2015, another DIRECTV employee in the account

verification group, Mr. Ramon Cruz, e-mailed that between January 1, 2015, and

February 28, 2015, there were “22 accounts that were created [by Telecel] for

existing/ineligible households.” (Ex. 27 at DTV0000376).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it is not material to

the motion.

      87.     On September 1, 2015, another DIRECTV employee, Ms. Alexandra

Macneill, e-mailed that another existing DIRECTV customer activated by a dealer

other than Telecel stated “that he was receiving calls from Spanish speaking

DIRECTV representatives . . .” (Ex. 28 at DTV0002066). In the same message,

Ms. Macneill confirmed that Telecel had flipped three accounts from another

dealer: “From the accounts identified, three accounts were disconnected and

flipped from General Markets to Telecel.” (Ex. 28 at DTV0002067).

      RESPONSE:

      DIRECTV objects to the portion of the statement that cites to Mr. Escobar

relaying a statement from a customer, as such statements are inadmissible third-

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party hearsay. DIRECTV objects to this statement on the grounds that it is not

material to the motion.

      88.   DIRECTV knew of many individual instances in which Telecel had

sold a new subscription to an existing DIRECTV customer. Attached hereto as

composite Exhibit 29 are one hundred twenty-three examples evidencing

DIRECTV’s knowledge of individual instances of flipping by Telcel. Each such

instance expressly provides that the sale will not be completed because the

customer already has an existing account. (Ex. 29).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it is not material to

the motion. Moreover, the statement mischaracterizes the evidence cited. The

examples are instances where Telecel attempted to secure service for a person that

turned out to already have DIRECTV service, but they do not indicate that another

dealer, as opposed to DIRECTV, had signed these persons up (i.e., what Plaintiff

has defined as “flipping”). In addition, many of the accounts in the composite

email were ineligible not because they were already customers, but because they

were customers whose prior account had a high outstanding balance.

      89.   Consumer complaints are routed to DIRECTV’s “dealer escalations.”

(See, e.g., Ex. 53). As an example, dealer escalations emailed Telecel regarding a

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consumer complaint where Telecel’s caller “was very rude and told customer he

will send customer to court if he cancels.” (Ex. 51 at DTV0001453). As part of the

process, DIRECTV exerts its control over Telecel, stating: “you as the original

dealer will be required to resolve these immediately. You are required to respond

back to this email chain within 24 business hours with your findings and resolution

regarding this order as well as what steps you will be taking to prevent this from

occurring in the future.” (Id.).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion, but DIRECTV objects to Plaintiff’s characterization of the

email as DIRECTV “exert[ing] its control over Telecel.”

      90.    On June 10, 2013, DIRECTV employee Manuel Escobar e-mailed

that “Telecel Marketing made its third appearance on our fraud report . . . Dealer is

manipulating names and addresses at point of sale (data attached, see OSCAR tab,

trouble areas highlighted). . . . Dealer is also using the same credit cards on more

than one account. Please address these issues with the dealer and let us know what

their response is.” (Ex. 27 at DTV0000385).

      RESPONSE:



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      DIRECTV objects to this statement on the grounds that it is not material to

the motion.

      91.     DIRECTV’s then area sales manager responded, stating that Telecel

“has identified the issue” and has “removed order entry access to everyone, except

2 managers and these individuals will be held accountable. Also, they have held a

training to review the correct process for order entries. . . . The owner has asked if

we can pull another report in 2 weeks, to help him ensure that everyone is

following the new guidelines.” (Ex. 27 at DTV0000384).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it is not material to

the motion.

      92.     On March 3, 2014, Mr. Escobar e-mailed again that Telecel “popped

up on our report that monitors the credit scoring tool. They’re once again making

multiple scoring attempts using more than one address and/or using several name

combinations. . . . Could you please address these issues with the dealer and let us

know what their explanation is?” (Ex. 27 at DTV0000381-82).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it is not material to

the motion.

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      93.     In response, DIRECTV’s area sales manager then in charge of Telecel

stated that he “met with the owner and manager last Wednesday. They had slipped

back into letting some of the sales reps enter their own orders . . . They have pulled

order entry back to only managers. . . . They had a full training on Friday with all

of their reps . . . We should not see this again. I will follow up with you at the end

of the month and ask that you run another report, so I can confirm they are

following the new policy.” (Ex. 27 at DTV0000380).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it is not material to

the motion.

      94.     On June 18, 2014, Mr. Escobar e-mailed Mr. Girgis, stating, among

other things, that “[p]er our conversation this morning, our primary concerns are

that the dealer is intentionally [1] Cold calling and/or targeting existing DIRECTV

subs[,] [2] Scoring applicants using varying pieces of information to get them

approved without a fee (name and address)[,] [3] Ignoring Notice of Cancellation

emails and recreating orders for applicants who have been flagged[.]” (Ex. 27 at

DTV0000378). He further outlined actions for which DIRECTV needs “some

assurances from the dealer before we waive the special chargeback on the 21

accounts.” (Ex. 27 at DTV0000378).

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      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      95.    On July 30, 2014, DIRECTV followed up, stating that “the dealer has

shown improvements in areas such as flipping. However, there are some areas that

still need attention. . . . Our research indicates that the dealer has continued to

recreate accounts after the original accounts are flagged by our Verification Team,

credit score individuals at several addresses and manipulate email addresses at

point of sale. . . . as promised we will continue to monitor the dealer.” (Ex. 27 at

DTV0000377) (emphasis added).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      96.    On July 31, 2014, DIRECTV communicated its findings from

monitoring Telecel’s point-of-sale practices directly to Telecel, stating: “the Risk

Management team has seen a lot of improvements but there are still a few things

that need to be fixed on the backend. Our research indicates the following things

that need to be addressed: [1] Recreating accounts after the original accounts are

flagged by our Verification Team (Install Postponement Emails); [2] Credit

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scoring individuals at several addresses (with different last names as well etc); [3]

Manipulating email addresses at point of sale (Same emails keep coming up).” (Ex.

50 at DTV0001040).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      97.    On March 25, 2015, DIRECTV followed up again in its monitoring of

Telecel, stating that it “identified several issues that need to be addresses related to

credit scoring manipulation, recreation of accounts after they are initially stopped

by our Account Verification Team, and the creation of new accounts for existing

customer/households. These are all issues which have been previously addressed

with the dealer twice before.” (Ex. 27 at DTV0000376).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      98.    Telecel terminated at least one other employee following DIRECTV’s

monitoring of Telecel’s business practices. (Ex. 44 at DTV0002100).

      RESPONSE:



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      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      99.      With respect to the issues monitored by DIRECTV and identified in

Ex. 27 at DTV0000376-85, Ms. Montmorency testified they are “something that I

do deal with on an everyday basis with every single one of my dealers.”

(Montmorency Dep. (Ex. 3) at 169:13-21).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      100. With respect to the issues monitored by DIRECTV and identified in

Ex. 27 at DTV0000376-85, Telecel testified that there is a constant level of

interaction and oversight by DIRECTV that results in ongoing conversations

regarding point of sale practices. (Diaz Dep. (Ex. 2) at 169:17-170:17).

      RESPONSE:

      DIRECTV objects to this statement as mischaracterizing the testimony as

nothing in Mr. Diaz’s testimony indicates that DIRECTV oversees or controls

Telecel’s actions regarding its point of sales practices. Rather, Mr. Diaz testified

that he would have conversations with DIRECTV and that it would send him

information.

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                        Facts Relating to Plaintiff Cordoba
      101. Plaintiff began receiving unsolicited telephone solicitations from

Telecel on behalf of DIRECTV on July 31, 2014. (Cordoba Decl. (Ex. 19) at ¶ 8).

      RESPONSE:

      DIRECTV objects to the characterization of the evidence as showing that

Telecel’s unauthorized alleged solicitations were made “on behalf of DIRECTV”

but otherwise admits that the Court can properly consider this evidence for the

purposes of the motion.

      102. Plaintiff registered his phone number on the national do-not-call

registry on December 12, 2014. (Cordoba Decl. (Ex. 19) at ¶ 13).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it is not material to

the motion.

      103. Plaintiff received a total of twenty-six telephone solicitations for

DIRECTV services between July 31, 2014, and November 4, 2015. (Cordoba

Decl. (Ex. 19) at ¶¶ 8, 22).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

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        104. Nineteen of those twenty-six calls were made after Plaintiff registered

his number on the national do-not-call registry. (Cordoba Decl. (Ex. 19) ¶¶ 14,

20).

        RESPONSE:

        DIRECTV objects to this statement on the grounds that it is not material to

the motion.

        105. Plaintiff advised DIRECTV and Telecel orally on several occasions,

and DIRECTV in writing in December 2014 and January 2015, that he was

receiving these unwanted telephone solicitations and wished them to stop.

(Cordoba Decl. (Ex. 19) ¶¶ 10-21, Exs. 1-2; Cordoba Dep. (Ex. 20) at 66:16-25).

        RESPONSE:

        DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

        106. DIRECTV never advised Telecel of Plaintiff’s complaints nor told

Telecel to stop calling him. (Diaz Dep. (Ex. 2) at 108:15-17, 109:9-110:17).

        RESPONSE:

        DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.



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      107. Telecel regularly represented to Plaintiff that it was calling directly

from DIRECTV. As Plaintiff testified, “when [Plaintiff] received [these

marketing] calls [from Telecel], [he] asked on several occasions if the

representative on the line was directly affiliated with DIRECTV or if they were

affiliated with a third party of some sort. The response that they gave always was

that they were directly affiliated with DIRECTV. So, based on that information,

[he] was always led to believe that [he] was speaking directly with DIRECTV

about whatever issue was at hand. Second, on a number of occasions, when

[Plaintiff] asked to not be called . . . [he] was transferred to what [he] was told was

a DIRECTV Call Center.” (Cordoba Dep. (Ex. 20) at 49:6-23; see also id. at

63:22-64:9 (Telecel “always represented themselves as being directly affiliated

with DIRECTV”)).

      RESPONSE:

      DIRECTV admits that the Court can properly consider this evidence for the

purposes of the motion.

      108. DIRECTV was aware of Telecel’s practice of identifying itself as

DIRECTV. (Ex. 28 at DTV0002066; Ex. 43 at DTV0002928 (stating that, during

investigation into problem practices by Telecel including cold-calling, DIRECTV

discovered that Telecel was making calls “claiming to be DIRECTV

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representatives” and answered its phones by stating “thank you for calling

DIRECTV, how may I help you?”)).

      RESPONSE:

      DIRECTV objects to this statement as mischaracterizing the evidence as

there is no indication in the evidence cited that DIRECTV understood that

Telecel’s reference to themselves as DIRECTV was an ongoing or consistent issue.

For example, Ex. 24 at DTV0006026 indicates that a meeting with the sales group

occurred to “make sure this does not happen again”.

      109. DIRECTV was aware of Telecel’s practice of transferring consumers

to DIRECTV’s customer care call center. (Ex. 28 at DTV0002065 (stating Telecel

representatives “are No Longer allowed to transfer any of our clients to Directv

customer care”)).

      RESPONSE:

      DIRECTV objects to this statement as mischaracterizing the evidence as

there is no indication in the evidence cited that DIRECTV understood that

Telecel’s transfer of customers to DIRECTV’s customer care was an ongoing or

consistent issue. For example, Ex. 28 indicates that Telecel was “No Longer

allowed” to transfer any individuals to DIRECTV customer care.



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                                Telecel’s Call Data
       110. Telecel attached as Exhibit P to its Business Records Certification and

Affidavit a list of inbound calls to its 1-800 number for the period November 2,

2015, through April 4, 2016. (Telecel Affidavit (Ex. 47) at ¶ 18, Ex. P).

       RESPONSE:

       DIRECTV objects to this statement on the grounds that it is not material to

the motion.

       111. Exhibit P of the Telecel Affidavit contains a total of 1,982 unique

telephone numbers that dialed into the 1-800 number. (Wilson Decl. (Ex. 48) at ¶

4).

       RESPONSE:

       DIRECTV objects to this statement on the grounds that it is not material to

the motion.

       112. Telecel attached as Exhibit A to its Business Records Certification

and Affidavit a list of outbound calls it made to sell DIRECTV for the period

March 27, 2015, to March 3, 2016. (Telecel Affidavit (Ex. 47) at ¶ 3, Ex. A).

       RESPONSE:

       DIRECTV objects to this statement on the grounds that it is not material to

the motion.

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      113. Exhibit A of the Telecel Affidavit contains a total of 24,566 unique

telephone numbers, of which there are 16,870 unique telephone numbers to which

Telecel made more than one outbound call. (Wilson Decl. (Ex. 48) at ¶ 3).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it is not material to

the motion.

      114. According to Telecel, there should be a “substantial amount of

overlap” between the outbound data and the inbound data to the 1-800 number.

(Diaz Dep. (Ex. 2) at 182:15-22).

      RESPONSE:

      DIRECTV objects to this statement on the grounds that it is not material to

the motion.

      115. However, when compared to 16,870 unique telephone numbers to

which Telecel made at least two phone calls in Exhibit A, there are just seven

overlapping numbers contained in the 1,982 unique telephone numbers contained

in Exhibit P. (Wilson Decl. (Ex. 48) at ¶¶ 2-7).

RESPONSE:

      DIRECTV objects to this statement on the grounds that it is not material to

the motion.

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                                  Respectfully submitted,

Dated: January 19, 2018           /s/ Hans J. Germann


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                               Certificate of Compliance
         I hereby certify, pursuant to Local Rules 5.1.C and 7.1.D of the Northern

District of Georgia, that the foregoing was prepared in 14-point Times New Roman

font.

This 19th day of January, 2018           /s/ Hans J. Germann




                                  Certificate of Service

         This is to certify that I have this day electronically filed the foregoing

DEFENDANT DIRECTV, LLC’S RESPONSE TO PLAINTIFF’S

STATEMENT OF ADDITIONAL FACTS PRECLUDING SUMMARY

JUDGMENT via the CM/ECF system, which will automatically send email

notification to the attorneys of record.

This 19th day of January, 2018            /s/ Hans J. Germann




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